Case 1:04-cv-Oll74-.]DT-STA Document 22 Filed 05/24/05 Page 1 of 3 Page|D 13

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IN THE UNITED STATES DISTRICT COURT 05 " -~ ._
FoR THE wEsTERN DISTRICT oF TENNESSEE ”Ar& ~ C
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/'j,/)z\ (:;//L`O;USD/O /`/~,::)Lflp
RAYMOND ANDREW CLARK, ) /V L/*@,;:;C/
)
Plaintiff, )
)
vs. ) No. 04-1174-T/An
)
CHARLES TRAUGHBER, ET AL., )
)
Defendants. )

 

ORDER DENYING MOTION FOR JUDICIAL REVIEW

 

On March 25, 2005, the Court entered an order lifting the stay previously imposed
in this case and directing the defendants to respond to the complaint within twenty days.
However, no response Was filed within the specified time period. On April 26, 2005,
plaintiff Raymond Andrew Clark filed a motion for summary judgment based primarily on
defendants’ failure to respond to the complaint

Defendants filed a response on May ll, 2005, asserting that plaintiffs summary
judgment motion should be denied. Defendants stated that they did not receive the Court’s
order directing them to file a response to the complaint until May 3, 2005, well after twenty
days had passed. Defendants requested additional time to respond to the complaint On
May 16, 2005, the Court entered an order granting the defendants twenty additional days in

which to respond to the complaint and to the plaintiffs motion for summary judgment

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On May 18, 2005, plaintiff filed a “Motion for Judicial Review” in Which he asks the
Court to deny the defendants’ request to deny his motion for summary judgment, and instead
to examine the motion on the merits. This “Motion for Judicial Review” is denied The
document is actually a supplemental memorandum in support of plaintiff s motion for
summary judgment, and Will be considered along With plaintiff s original memorandum and
any response filed by the defendants

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:04-CV-01174 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

